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                         DISTRICT COURT OPINION DENYING PRELIMINARY INJUNCTION
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                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF MARYLAND


         MARYLAND SHALL ISSUE, INC.,
         ENGAGE ARMAMENT, LLC,
         ANDREW RAYMOND,
         CARLOS RABANALES,
         BRANDON FERRELL,
         DERYCK WEAVER,
         JOSHUA EDGAR,
         I.C.E. FIREARMS & DEFENSIVE
         TRAINING, LLC,
         RONALD DAVID,
         NANCY DAVID and                                           Civil Action No. TDC-21-1736
         ELIYAHU SHEMONY,

                        Plaintiffs,

                        V.

         MONTGOMERY COUNTY, MARYLAND,

                        Defendant.



                                          MEMORANDUM OPINION

               Plaintiffs Maryland Shall Issue, Inc. ("MS!"), Engage Armament, LLC, I.C.E. Firearms &

        Defensive Training, LLC, and eight individuals ("the Individual Plaintiffs") have filed suit against

        Defendant Montgomery County, Maryland ("the County") challenging recent amendments to

        Chapter 57 of the Montgomery County Code ("Chapter 57''), which imposes regulations and

        re'strictions relating to the possession and use of weapons in the Com1ty. Presently pending before

        the Court is Plaintiffs' Motion for a Temporary Restraining Order and a Preliminary Injunction,

        which is fully briefed. On February 6, 2023, the Court held a hearing on the Motion. For the

        reasons set forth_befow, the Motion will be DENIED.
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                                                BACKGROUND

               Prior relevant factual background and procedural history is set forth in the Court's February

        7, 2022 Memorandum Opinion on Plaintiffs' Motion to Sever and Remand All State Law Claims

        and to Hold in Abeyance, and the Court's May 5, 2023 Memorandum Opinion on the County's

        Motion to Remand Counts I, II, and III and Stay Counts JV through VIII, which are incorporated

        by reference. Md. Shall Issue, Inc. v. Montgomery Cnty., No. TDC-21-1736, 2022 WL 375461

        (D. Md. Feb. 7, 2022) ("MS/ I"); Md. Shall Issue, Inc. v. Montgomery Cnty., No. TDC,21-1736,

        2023 WL 3276497 (D. Md. May 5, 2023). Additional facts and procedural history are provided

        belo·w as necessary.

               On May 28, 2021, Plaintiffs filed the original Complaint in this case in the·Circuit Court

        for Montgomery County, Maryland ("the Circuit Court") challenging Bill No. 4-21, a provision to

        amend Chapter 57 that was passed by the Montgomery County Council in April 2021. Among

        other amendments, Bill No. 4-21 added provisions to regulate ghost guns, undetectable guns, 3D-

        printed guns, and major components of such guns. Bill No. 4-21 also expanded the definition of

        "place of public assembly," which identifies locations at_ which it is unlawful to "sell, transfer,

        possess, or transport" firearms. Montgomery Coty. Code,§ 57-1 l(a) (2022); Bill No. 4-21 at 4,

        Second Am. Comp!. ("SAC") Ex. A, ECF No. 49-1. While the prior definition consisted of a

        specific list of locations, including a ''government owned park," a "place of worship," an

        "elementary or secondary_ school," a "public library," a "government-owned or -operated
                                                                    .      .

        recreational facility," and a "multipurpose exhibition facility, such as fairgrounds or a conference

        center," the new definition generally inclllded any ''place where the public may assemble, whether

        the place is publicly or privately owned" and listed as examples "a park; place of worship; school;

        library; recreatiOnal facility; hospital; community health center; long-term facility; or multi-



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        purpose exhibition facility." Bill No. 4-21 at 4-5. Bill No. 4-21 also expanded the area at or near

        a place of public assembly in which firearm possession is restricted to include areas "within 100

        yards of a place of public assembly." Id at 4.

               Plaintiffs alleged four counts, numbered as follows: (I) that by expanding the "place of

        public assembly" definition, the County-exceeded its authority under Article XI-E of the Maryland

        Constitution to enact local laws; (II) that Bill No. 4-21 's amendments are inconsistent with and

        preempted by existing state law, in violation of the Maryland Express Powers Act, Md. Code Ann.,

        Local Gov't § 10-206 (LexisNexis 2013); (III) that Bill No. 4-21 violates the Takings Clause of

        the Maryland Constitution, Md. Const. art. III, § 40 ("the Maryland Takings Clause"), and the Due

        Process Clause in Article 24 of the Maryland Declaration of Rights (''the Maryland Due Process

        Clause") by depriving gun owners of property without legal process or compensation; and (IV)

        that Bill No. 4-21 's definitions of "place of public assembly," "ghost gun," "major component,"

        and other terms are unconstitutionally vague, in violation of the Maryland Due Process Clause and

        the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

               On July 12, 2021, the County removed the case to this Court. On February 7, 2022, the

        Court granted in part and denied in part Plaintiffs' Motion to Sever and Remand in that it severed

        and remanded the state law claims in Counts I-III to the Circuit Court and stayed Count IV. MS/

        I, 2022 WL 375461, at-*6. On June 23, 2022, the United States Supreme Court issued its opinion

        in New York State Rifle and Pistol Association v. Bruen; 142 S. Ct. 2111 (2022), which found

        unconstitutional a New York statute requiring a showing of a special need to obtain a license to

        carry firearms. Id. at 2122. On July 22, 2022, Plaintiffs filed a First Amended Complaint in the

        Circuit Court, which added Count V, a claim in which they alleged that, in light of_B,:uen, the

        provisions of Section 57-1.1 of the Montgomery County Code ("Section 57-11") restricting the



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        carrying of firearms in places of public assembly violate the Second Amendinent to the United

        States Constitution. On August 8, 2022, the County removed the First Amended Complaint to this

        Court, which was docketed as Civil Action No. 22-1967. On September I, 2022, this Court

        consolidated that newly removed case with the origlnal case, No. 21-1736, which remained with

        this Court for resolution of the federal claim.

                On November 15, 2022, in response to Bruen, the Montgomery County Council passed

        Bill No. 21-22E, signed into law by the County Executive on November 28, 2022, which further

        amended Chapter 57's firearm restrictions that were the subject of the original Complaint. As

        relevant here, Bill No. 21-22E returned the definition of a "place of public assembly" to .an

        enumerated list of facilities, which now consists of:

               (I) a publicly or privately owned (A) park; (B) place of worship; (C) school; (D)
                   library; (E) recreational facility; (F) hospital; (G) community health center,
                   including any health care facility or community-based program licensed by the
                   Maryland Department of Health; (H) long-term facility; including any licensed
                   nursing home, group home, or care home; (I) multipurpose exhibition facility,
                   such as a fairgrounds or conference center; or (J) childcare facility.

                (2) government building, including any place owned by or under the control of the
                    Col_!nty;

                (3) polling place;

                (4) courthouse;

                (5) legislative assembly; or

                (6) a gathering of individuals to collectively express their constitutional right to
                    protest or assemble.

        Bill No. 21-22E at 3-4, SAC Ex. B, ECF No. 49-2; Montgomery Cnty. Code§ 57-1. A "place of

        public _assembly" includes "all property associated with the place, such as a parking lot or grounds

        of a building." Bill No. 21-22E at 4; Montgomery Cnty. Code§ 57-1. Bill No. 21-22E retained




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        Bill No. 4-21 's provision restricting firearm possession within 100 yards of a "place of public

        assembly," such that the present prohibition contained in Section 57-11 states that:

               (a) In or within 100 yards of a place of public assembly, a person must not:

                   (1) sell, transfer, possess, or transport a ghost gun, undetect~ble gun, handgun,
                       rifle, Or shotgun, or ammunition or major component for these firearms; or

                   (2) sell, transfer, possess, or transport a firearm created through a 3D printing
                       process.

        Montgomery Cnty. Code§ 57-1 l(a).

               In light of Bruen's holding that state firearm permits generally must be issued without

        requiring a showing of"special need," see Bruen, 142 S. Ct. at 2138, which effectively invalidated

        Maryland's prior permit regime which required applicants to make such a showing, see Md. Code

        Ann., Pub. Safety § 5-306(a)(6)(ii) (LexisNexis 2018), Bill No. 21-22E also removed a provision

        that had previously exempted· from the prohibition on firearm J?Ossession within 100 yards of a

        "place of public assembly" "the possession of a handgun by a person who has received a permit to

        carry the handgun under State law." Bill No. 21-22E at 5. The effective date of Bill No. 21-22E

        was November 28, 2022.

               On November 29, 2022, Plaintiffs filed a Second Amended Complaint in the present case

        to add challenges-to the provisions of Bill No. 21-22E. Generally, Counts I, II, and III continue to

        assert the same state laW claims as in the earlier complaints, consisting o.f challenges m1der the

        Maryland Constitution, the Express Powers Act, and the Maryland Takings Clause and Maryland

        Due Process Clause, respectively, but they have been expanded to apply also to the provisions of

        Bill No, 21-22E. Count IV of the Second Amended Complaint asserts that certain terms used in

        Chapter 57's definition of"place of public assembly," including the tenhs "library," "recreational

        facility," "community health center," "school," "park," and "long-term facility" are



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        unconstitutionally vague in violation of the federal and state constitutional rights to due process of

        law. Count V alleges that the restrictions relating to "major components" of firearms violate due

       process rights because they are arbitrary, irrational, and fail to serve a legitimate governmental

        objective. Count VI asserts that certain provisions in ~ill No. 4-21 and Bill No. 21-22E that restrict

       activities relating to fireanns in the presence of a minor or in locations accessible to minors violate

        the due process rights of parents of minor children to care for their children and to instruct them

        in the safe use and handling of firearms• and components, in violation of the Fourteenth

       Amendment and Article 24 of the Maryland Declaration of Rights. Count VII alleges that the

        restrictions in Bill No. 4-21 and Bill No. 21-22E, particularly those prohibiting the carrying of

       firearms in or near places of public assembly, unconstitutionally infringe on the Second

       Amendment right to armed self-defense in public as articulated in Bruen. Finally, Count VIII

       asserts that the restrictions on ghost guns and privately made firearms and components infringe on

        Plaintiffs' Second Amendment rights.

                                                   DISCUSSION

               Plaintiffs have now filed a Motion for a Temporary Restraining Order and a Preliminary

       Injunction in which they request that the County be preliminarily enjoined from enforcing the ban

        on handgun possession at or within 100 yards of a place of public assembly against individuals

       who have been issued permits to cany a handgun by the Maryland S4tte Police, specifically, as to

       the prohibition on carrying a handgun within 100 yards of a private school, public institution of

        higher education, childcare facility, place of worship, library, park, recreational facility,

        multipurpose exhibition facility, hospital, community health center, or long-term facility.

        Plaintiffs assert that in light of Bruen, these provisions violate their Second Amendment right to




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        carry a firearm in public for self-defense purposes, and that they face an imminent likeli~ood of

        irreparable harm in the absence of a preliminary injunction.

                In opposing the Motion, the County argues that (I) Plaintiffs lack standing to assert their

        claims; (2) Plaintiffs have not demonstrated a likelihood of success on the merits of their claim
                                                                  .
        that the prohibition on carrying a firearm at or within 100 yards of a place of public assembly, as

        set forth in Section 57-11 as amended by Bill No. 4-21 and Bill No. 21-22E, violates the Second

        Amendment; (3) Plaintiffs will not suffer irreparable harm if the Court does not issue an injunctfon;

        and (4) the balance of equities and the public interest are not in Plaintiffs' favor .

             . ' In considering the Motion, the Court construes all of the .identified ''places of public

        assembly" to be locations inodified by that term itself. Specifically, while Plaintiffs argue that

        Section 57-11 prohibits the carrying of a firearm in purely private locations because a backyard

        pool could be construed as a ','recreational facility," or an in-house library at Engage Armament

        LLC or a room with books in a private home could be construed as a ''library," the Court disagrees.

        Based on the plain language of Bill No. 21-22E and Section 57-11, all identified locations, even

        those that are privately owned, necessarily are modified by the term "place of public assembly,"

        so privately owned libraries, recreational facilities, and other locations referenced in the definition

        of"place of.public aSsembly" meet the definition only if they are actually open to members of the

        public. The Court therefore need not and does not address the claim that Section 57-11 infringes

        on the right to armed self-defense by prohibiting carrying firearms in such purely private locations,.

        or that it is unconstitutionally vague because it arguably could include such locations.

        I.      Legal Standard

                To obtain a preliminary injunction, moving parties must establish that (I) they are likely to

        succeed on the merits; (2) they are likely to suffer irreparable harm in the absence of preliminary



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        relief; (3) the balance of equities tips in their favor; and (4) an injunction is in the public interest.

        Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7, 20 (2008); see Dewhurst v. Century Aluminum

        Co., 649 F.3d 287, 290 (4th Cir. 201 I).        A moving party must satisfy each requirement as

        articulated. Pashby v. Delia, 709 F.3d 307,320 (4th Cir. 2013). Because a preliminary injunction

        is "an extraordinary remedy," it "may only be awarded upon a clear showing that the plaintiff is

        entitled to such relief." Winter, 555 U.S. at 22.

        II.     Standing

                As a threshold matter, the County argues that Plaintiffs lack standing to assert their claims

        primarily because they have not shown that there is a sufficiently "credible threat of imminent

        prosecution." Opp'n Mot. Preliminary lnj. ("Opp'n") at I 0, ECF No. 59-2. Because Article III of

        the United States Constitution limits the jurisdiction of federal courts to "Cases" and

        "Controversies," plaintiffs in federal civil actions must demonstrate standing. to assert their claims.

        Lujan v. Deft. of Wildlife, 504 U.S. 555, 560 (1992). The "irreducible constitutional minimum"

        requirements of standing consist of three elements: (1) the plaintiff must have suffered an "injury

        in fact"; (2) the injury must be fairly traceable to the actions of the defendant; and (3) it must be

        "likely" that the injury will be "redressed by a favorable decision." Id. at 560-61 (citations

        omitted). An injury in fact must be "an invasion of a legally protected interest" that is "concrete

        and particularized" and "actual or imminent, not conjectural or hypoth_etical." Spokeo, Inc. v.

        Robins, 578 U.S. 330, 339 (2016). Standing must be established for each claim and form of relief

        sought. DaimlerChrys/er Corp. v. Cuno, 547 U.S. 332,352 (2006). For purposes of the Motion,

        the claims at issue are the Second Amendment claims asserted in Count VIL When there are

        multiple plaintiffs, the Court need only determine that there is at least one plaintiff with standing




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        for a particular claim in order to consider the claim. Town of Chester v. Laroe Ests., Inc., 581 U.S.

        433,439 (2017).

               In asserting a concrete injury necessary to establish standing to assert the Second

        Amendment" claims in Count VII, Plaintiffs allege that because most of the Individual Plaintiffs

        have Maryland firearm permits and regularly travel to, or come within 100 yards of, one or more

        of the "places of public assembly" while carrying a firearm, they face a risk of prosecution during

       · such activities, in violation of their Second Amendment right to carry a firearm for self-defense.
                                                                                                  '
        The County, however, argues that there is no injury in fact because Plaintiffs have not

        demonstrated a likelihood that they would actually be prosecuted for carrying a fireann in or within

        100 yards of a place of public assembly.

                A plaintiff may challenge the prospective operation of a statute when there is "a realistic

        danger of sustaining a direct injury as a_result of the statute's operation or enforcement." Babbitt

        v. United Farm Warkers Nat'/ Unian, 442 U.S. 289,298 (1979). When challenging a criminal

        statute, it is not necessary that the plaintiff first be exposed "to actual arrest or pi:osecution to be

        entitled to Challenge [the] statute" that the plaintiff''claims deters the exercise of ... constitutional

        rights." Id. (quoting Steffel v. Thompson, 415 U.S. 452,459 (1974)). A plaintiff can satisfy the

        injury-in-fact requirement by alleging "an intention to engage in a course of conduct arguably

        affected with a constitutional interest, but proscribed by a statute, and there exists a credible threat

        of prosecution thereunder."' Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)(quoting

        Babbitt, 442 U.S. at 298.

                The County argues that there is no credible threat of prosecution because Plaintiffs have

        not actually been threatened with prosecution, and they have not established that ahyone else has

        been prosecuted for violations of the amendments to Section 57-11. Although courts have found



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        standing when there was an actual threat of prosecution, they have not required such a threat. See,

        e.g., Steffel v. Thompson, 415 U.S. 452, 459 (1974) (finding standing to challenge a criminal

        trespass law as violating First Amendment rights where the plaintiff was warned that he would

        likely be prosecuted if he continued to distribute handbills at a shopping center). Rather, in

        Babbitt, the Supreme Court held·only that "[w]hen plaintiffs do not claim that they have ever been

        threatened with prosecution, that a prosecution _is likely, or even· that a prosecution is remotely

        possible" they have failed to "allege a dispute susceptible to resolution by a federal court." Babbitt,

        442 U.S. at 298-99. Thus, a plaintiff whose Prosecution is at least "remotely possible," and whose

        fear of prosecution is not "imaginary br speculative," can demonstrate a credible threat of

        prosecution. Id.

                In Virginia v. American Booksellers Association, Inc., 484 U.S. 383 (1988), several

        organizations of booksellers brought a First Amendment challenge to a Virginia law prohibiting

        the commercial display of sexually explicit material that is "harmful to juveniles." Id. at 386. The

        Supreme Court held that the booksellers established an injury in fact for purposes of standing even

        in the absence of any specific threat to prosecute the plaintiffs or anyone else, because the Virginia

        law was aimed directly at the booksellers, and they would either have to take significant and costly

        compliance measures or risk criminal prosecution.          Id. at 392.   Moreover, where the state

        government did not suggest that the newly enacted law would not be enforced, the plaintiffs had a

        "well-founded fear that the law will be enforced against them." Id. at 393.

                Likewise, the firearm restrictions in Secti.on 57-11 relating to places of public assembly are

        plainly targeted at gun owners who, like.Plaintiffs, must either forgo the asserted constitutional

        right to carry a firearm in such locations or risk criminal prosecution. Plaintiffs have stated that

        their past conduct would violate the present version of Section 57-11 and have expressed a concrete
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        intention to continue to engage in conduct that would violate Section 57-11. Cf Md Shall Issue,

        Inc. v. Hogan, 971 F.3d 199, 218 (4th Cir. 2020) (finding.a lack of a credible threat of prosecution

        where the state had not threatened prosecution, there was no evidence of the law being enforced

        as feared, and the plaintiffs had not alleged any "concrete intention" to take actions to violate the

        law at issue). Notably, at the hearing on the Motion, counsel for the County declined tci commit

        to refraining from prosecuting Plaintiffs or others for violations of these restrictions .. Indeed, the

        County has not explained why it would enact firearms laws such as Section 57-11 if it does not

        intend to enforce them. Where, as in American Booksellers Association, the Individual Plaintiffs·

        have alleged that in the course of their regular activities they will take actions that would violate

        Section 57-11, and the relevant governmental authority has not disavowed prosecuting them for

        such :i violation, 'Plaintiffs have sufficiently alleged "an actual and well-found_ed fear that the law

        will be enforced against them" and thus an imminent, impending injury based on a reasonable fear

        of.prosecution. See Am. Booksellers Ass 'n, 484 U.S. at 393.

                The County, however, has also argued that Plaintiffs have not alleged sufficient facts to

        assert standing for the Second Amendment challenges to firearm restrictions relating to specific

        categories of places of public assembly. Because, as discussed below, the challenge to a particular

        location category requires a different legal analysis, the Court construes each such challenge to be

        a separate claim for which standing must be established. DaimlerChrysler Corp., 547 U.S. at 352.

        Indeed, Courts considering similar Second Amendment challenges to firearm restrictions on

        specific sensitive places or places of public assembly have conducted a standing analysis relating

        to each specific location category. See Antonyuk v. Hochul, No. 22-0986(GTS/CFH), 2022 WL

        16744700, at *11-*37 (N.D.N.Y. Nov. 7, 2022); Koons v. Platkin, No. 22-7463(RMB/AMD),

        2023 WL 3478604, at *44-*48 (D.N.J. May 16, 2023). Considering the categories of places of



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        public_ assembly referenced in Chapter 57-11, Plaintiffs have specifically alleged facts

        demonstrating that an Individual Plaintiff would regularly carry a firearm in some of the identified

        locations in the future, which in tum supports standing to challenge the restriction on carrying at

        or near those locations.

             , As to private schools and public libraries, the Second Amended Complaint alleges that

        Plaintiff Eliyahu Shemony regularly carries a firearm with him and 'intends to continue doing so

        while "going to and inside a public libr_ary" and while "picking up minor children at their private

        school." SAC , 74. As to places of worship, MS! members David Sussman and Allan Barall

        submitted declarations stating that they serve as volunteer armed security personnel for their

        synagogues and that they previously obtained Maryland permits to carry a firearm in order to

        provide such security. As to places of worship, recreational facilities, and multipurpose exhibition

        facilities, the Second Amended Complaint alleges that Plaintiff Ronald David regularly carries a

        firearm with him and intends to continue doing so while at his place of worship, recreational

        facilities, and fairgrounds, which are part of the definition of"multipurpose exhibition facility."

        SAC ,r 72. Although these allegations do not identify the specific locations that David intends to

        visit, for purposes of the Motion the Court finds them sufficient. Based on multiple allegations

        that certain Plaintiffs regularly travel within 100 yards ofa "place of public assembly," they have
                 '
        also alleged facts sufficient to chall~nge the part of the definition of "place of public assembly"

        that includes such a buffer zone.

                In contrast, however, the Court finds that Plaintiffs have failed to allege fac.ts demonstrating

         standing to Challenge the fireann restrictions relating to public institutions of higher education,

         such as colleges and universities. The Second Amended Complaint lacks allegations that any

         Plaintiff intends to visit a college or university in Montgomery County while carrying a fireann.



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        Plaintiffs therefore have failed to allege an injury in fact sufficient to challenge the application of

        Section 57-11 to institutions of higher education. Likewise, the allegations are insufficient to

        establish standing to challenge restrictions on private libraries. While the Second Amended

        Complaint references libraries on multiple occasions, and on some occasions specifically

        references public libraries, it does not assert that a Plaintiff regularly carries a firearm in a privately

        owned library, by name or otherwise. Where public libraries are prevalent in Montgomery County,

        and Plaintiffs have not even identified any specific private library in Montgomery County, much

        less one regularly visited by a Plaintiff, the Court will not stretch the general allegations relating

        to libraries beyond the breaking point to establish an injury in fact relating to carrying firearms in

        a private library.    The Court therefore finds that Plaintiffs have not established standing to

        challenge the restriction on carrying firearms in private libraries.

                As to public and private parks, David asserts that he regularly carries a loaded firearm with

                               ' County" and intends to continue to do so. SAC ,r 72. Neither this
        him "at a park within the

        allegation nor any other allegations in the Second Amended Complaint identifies any particular

        park, and while some allegations specifically reference public parks, none asserts that a Plaintiff

        regularly carries a firearm in a privately owned park, by name or otherwise. Where the term "park"

        ordinarily refers to public parks, which are prevalent in Montgomery County, and Plaintiffs have

        not even identified any specific private park in Montgomery County, much less one regularly

        visited by a Plaintiff, the Court will not unreasonably stretch the general allegations relating to

        parks to establish an injury in fact relating to carrying firearms in a private park, particularly when

        the analysis relating to private parks differs from that relating to public parks to the point that it

         effectively relates to a different claim. See infra Part III.E. The Court therefor~ finds that Plaintiffs




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        have established standing to challenge the" restrictions on carrying firearms in public parks, but not

        those relating to private parks.

                 As to hospitals, community health centers; and long-term care facilities such as a "licensed

        nursing home, group home, or care home," Bill No. 21-22E at 3-4, there are no allegations that a

        Plaintiff regularly visits or intends to visit a hospital or other identified health care facility while

        carrying a firearm. Indeed, there are no references of any kind in the Second Amended Complaint

        to community health centers or facilities licensed by the Maryland Department of Health. See

        Antonyuk, 2022 WL 16744700, at *23, *25 (finding a lack of standing to challenge Ne,w York

        firearm restrictions relating to "[t]he location of any program licensed, regulated, certified,

        op~ra!ed, or funded by the office for peol)Ie with developmental disabilities" and relating to

        "[r]esidential settings licensed, certified, regulated, funded, or. operated by the department of
                                                                                             '
        health").      While the Second Amended Complaint generally references visits to "health care

        facilities" and mentions travel near facilities for "assisted living," e.g., SAC ,i,i 59, 62, Plaintiffs

        · do not identify any specific facilities, and the Court does not construe these general terms to fall

        within the categories referenced in Bill No. 21-22E, which consist of licensed community health

        centers or the equivalent and long-term care facilities akin to licensed nursing homes, group

        homes, or care. homes, not assisted living facilities which typically do not involve communal living

         and do·not necessarily include the provision of health care. See Koons, 2023 WL 3478604, at *47

         (finding that allegations that the plaintiffs frequented certain specific types of health care facilities

         did not es_tablish standing to challenge fireann restrictions relating to numerous other types of

         health care facilities). Accordingly, the Court finds that Plaintiffs have not provided sufficient

         allegati;ms to establish standing to challenge the restrictions on carrying firearms at ~hese types of

         facilities.



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               The_ Second Amended Complaint contains a single reference to a hospital: Plaintiff Carlos

        Rabanales alleges that he carries a loaded firearm and intends to continue doing so on his daily

        commut_e to work, during which he passes within 100 yards of a hospital, and that th.ere is no

        practical way for him to avoid corning within 100 yards of a hospital during his commute.

        Rabanales does not identify the hospital at issue and does not allege that he has carried or will

        likely carry a firearm into a hospital. This allegation arguably could establish that Rabanales faces

        a concrete injury relating to the prohibition on carrying fireaITils within a 100-yard buffer zone

        around a "place of public assembly," Montgomery Cnty. Code § 57-11, but it does not support

        standing to challenge the bar on carrying a firearm inside a hospital itself anq thus could not

        provide a basis to support an injunction against enforcement of that ban. Nevertheless, because

        Rabanales's potential injury from the 100-yard buffer zone may indirectly derive from the bar on

        carrying a firearm in a hospital, the Court will address the likelihood of success on the merits of

        the challenge to that provision as implicated by proximity to a hospital.

                As for the remaining requirements for standing, Plaintiffs have sufficiently alleged that the

        injury· is fairly traceable to the actions of the County, in the form of potential prosecution by the

        County, and that the injmy would be redressable through the injunctive .relief sought. The Court

        therefore finds standing as· to the Second Amendment claims relating to the pro~ibitions on

        carrying a fii-earm at a private school, a childcare facility, a place of w~rship, a public park, a

        recreational facility or multipurpose exhibition facility, a public library, and within 100 yards of

        any place of public assembly. Montgomery Cnty. Code§ 57-11. It does not find standing as to

        the claims relating to the rest of the identified locations.




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        III.   Likelihood of Success on the Merits

               The first requirement for a preliminary injunction is that the moving party demonstrate a

        likelihood of success on the merits of its claims, which for purposes of the Motion, and based on

        the Court's findings relating to standing, consist of the Second Amendment challenge to the

        prohibition on Maryland firearm permit holders carrying a firearm in the following "places of

        public assembly": a private school, a childcare facility, a place of worship, a public park, a

        recreational
                .    facility or multipurpose
                                       .      exhibition facility, a public library, and within 100 yards of a

        place of public assembly. The Court will analyze each of these categories separately.

               A.      Legal St.andards

               In New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct 2111 (2022), the

        Supreme Court held that the Secon4 Amendment protects "an individual's right to carry a handgun

        for self-defense outside the home." Id. at 2122. _However, "the right secured by the Second

        Amendment is not nnlimited." Id. at 2128 (quoting District of Columbia v. Heller, 554 U.S. 570,

        626 (2008)).

                In Bruen, the Supreme Court considered the two-step test that Courts of Appeals had

        generally adopted for assessing Second Amendment claims after District of Columbia v. Heller,

        554 U.S. 570 (2008). At the first step, the Government could justify a firearm regulation by

        showing that the chall~nged law regulates activity outside the scope of the Second Amendment

        right as originally understood, and if it successfully does so, "then the analysis can stop there; the

        regulated activity is categorically unprotected." Bruen, 142 S. Ct. at 2126. At the second step,

        courts engaged in a ~eans-end analysis, applying either strict or intermediate scrutiny to assess

        whether the governmental interest underlying the law justified the restriction. Id




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                The Bruen Court generally reaffirmed the first s.tep by stating .that it "is broadly consistent

        with Heller," but it rejected the means-end second step. Id. at 2127. It then adopted a Second

        Amendment test of considering, first, whether the "Second Amendment's plain text covers an

        individual's conduct," and if so, "the Constitution presumptively protects that conduct." Id. at

        2129-30. Notably, the Supreme Court identified certain "sensitive places," including schools,

        government buildings, legislative assembles, polling places, and courthouses, for which it is

        "'settled" that "arms carrying could be prohibited consistent with the Second Amendment," even

        in the absence of a significant historical record from the 1700s or 1800s of such restrictions. Id.

        at 2133. If the regulation covers Second Amendment conduct, rather than engaging in a means-

         end inquiry, "[t]he government must then justify its regulation by demonstrating that it is consistent

         with the Nation's historical tradition of firearm regulation.'-' Id. at 2130. This historical inqt1;iry

         considers whether there is "historical precedent" from before, during, and after the enactment of

         the Second Amendment that "evinces a comparable tradition ofregulation" in the same manner as

         the present day restriction. Id. at 2131-32.

                 Present-day firearm regulations that were "unimaginable at the founding," such as those

         that relate to "unprecedented societal concerns or dramatic technological changes," may still be

         upheld as consistent with the historical tradition_ of •firearm -regulation based on "reasoning by

         analogy." Id. at 2130, 2132. The Supreme Court stated that two primary metrics are relevant for

         detennining whether such a modem regulation is "relevantly similar" to a historical regulation:

         "how and why the regulations burden a law-abiding citizen's right to armed self-defense." Id. at

         2132-33. "[C]entral" to this inquiry is "whether modem and historical regulations impose a

         comparable burden on the right of armed self-defense and whether that burden is comparably

         justified." Id. ''[A]nalogical reasoning under the Second Amendment is neither a regulatory



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        straightjacket nor a regulatory blank check." Id. at 2133. Although ..courts should not 'uphold

        every modern law that remotely resembles a historical analogue,' ... analogical reasoning requires

        only that the government identify a well-established and representative historical analogue, not a

        historical twin." Id. (quoting Drummond v. Robinson, 9 F.4th 217, 226 (3d Cir. 2021 )). "So even

        if a modern-day regulation is not a dead ringer for historical precursors, it still may be analogous

        enough to pass constitutional m,uster." Id.

                In addressing the types of historical sources to be considered when analyzing this second

        prong in relation to a-state law restriction on fireanns, the Supreme Court "acknowledge[d] that

        there is an ongoing scholarly debate on Whether courts should primarily rely on the prevailing

        understanding of an individual right when the Fourteenth Amendment was ratified in 1868 when

        defining its Scope." Id. at 2138. However, the Court declined to take a position on this issue and

        thus left open the question whether courts may consider only historical sources from the time

        period of the ratification of the Second Amendment in 1791, or whether they may, and perhaps

        should primarily consider, historical sources from the time period of the ratification of the

        Fourteenth Amendment in 1868, at which point the protections of the Second Amendment became

        applicable to state firearm restrictions. Id.

                Upon consideration of this issue, the Court concludes that historical sources from the time

        period of the 'ratification Of the Fourteenth Amendment are equally if not more probative of the

        scope of the Second Amendment's right to bear arms as applied to the states by the Fourteenth

        Amendment. "[T]he Second Amendment □ originally applied only to the Federal Govermnent."

        McDonald v. City of Chicago, 561 U.S. 742, 754 (2010). Indeed, in 1833, the Supreme Court so

        held and rejected the proposition that the first eight constitutional amendments operated as

        limitations on the States. See Barron ex rel. Tiernan v. Mayor of Bait., 32 U.S. (7 Pet.) 243, 250-



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        51 (1833). However, after the ratification of the Fourteenth Amendment, the Court "eventually

        incorporated almost all of the provisions of the Bill of Rights" as applying to the States.

        McDonald, 561 U.S. at 764. . In McDonald, the Supreme Court held that the Fourteenth

        Amendment makes the Second AmendI!}ent right to keep and bear arms fully applicable to the

        States. Id. at 750. Thus, as the Bruen Court noted, "[s]trictly speaking," states are "bound to

        respect the right to keep and bear arms because of the Fourteenth Amendment, not the Second."·

        Bruen, 142 S. Ct. at 2137.

               Relying in part on this point, the United States Court of Appeals for the Eleventh Circuit

        recently held that "[h]istorical sources from the Reconstruction Era are more probative of the

        Second Amendment's scope than those from the Founding Era" when considering state law

        firearm restrictions. Nat'/ Rifle Ass'n v. Bondi, 61 F.4th 1317, 1322 (11th Cir. 2023). The court

        reasoned that "because the Fourteenth Amendment is what caused the Second Amendment to

        apply to the States, the Re.construction Era understanding of the right to bear arms-that is, the

        understanding that prevailed when the States adopted the Fourteenth Amendment-is what

        matters." Id. This conclusion is ne~essary "to be faithful to the principle that '[c]onstitutional

        rights are enshrined with the scope they were understood to have when the people adopted them,"'

        because "it makes no sense to suggest that the States would have bound thems~lves to an

        understanding of the Bill of Rights-including that of the Second Amendment-that they did not

        share when they ratified the Fourteenth Amendment." Id. at 1323-24 (quoting Bruen, 142 S. Ct.

        at 2136). The Court agrees with the Eleventh Circuit's reasoning and will consider historical

        ·sources from the time period of the ratification of the Fourteenth Amendment.




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                B.      Schools

                Plaintiffs challenge certain aspects of Section 57-11 's prohibition on the carrying of

        firearms at "schools" within the County. Montgomery Cnty. Code§§ 57-1, 57-11. Where the

        Supreme Court has specifically deemed "schools" and "government buildings" to be "sensitive

        places;' at which the carrying of firearms could be prohibited consistent with the Second

        Amendment, Bruen, 142 S. Ct. at 2133, Plaintiffs do not challenge the restriction relating to public

        elementary and secondary scho9ls. Rather, they assert that private schools ·or public institutions

        of higher education are not "sensitive places" under Bruen, such that to the extent that the firearm

         restrictions relating to schools apply to those locations, they are barred by the Second Amendment.

                The Court finds that Plaintiffs' challenge on this point is unlikely to succeed. Bruen did

         not distinguish between public schools and private schools or limit the term "schools" based on

         the age of the students. See Bruen, 142 S. Ct. at 2133. Nor did Heller, which first designated

         "schools" as "sensitive places" for purposes of the Second Amendment. Heller, 554 U.S: at 626.

         Particularly where public school education was not mandatory in a single state until 1852 or

         throughout the country until 1918, see.Michael S. Katz,A History o/Compulsory Education Laws

         5 (Donald W. Robinson ed. 1976), to limit schools deemed to be "sensitive places" to public

         schools is likely inconsistent With the relevant history that underlies Second Amendment analysis.

         Where no distinction between different kinds of schools exists in Bruen, and where Plaintiffs have

         pointed to no .authority warranting such a distinction, the Court declines_ to create one and finds

         that Plaintiffs a.Te unlikely to succeed on their challenge to Section 57-ll's restriction on the

         carrying of firearms in "schools" as applied to private schools. Cf Antonyuk, 2022 WL 16744700,

         at *68 (finding that restrictions on carrying arms in nursery schools and preschools were

         permissible in light of historical analogues to laws forbidding arms in schools).



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                As for public institutions of higher education, as discussed above, Plaintiffs lack standing

       to challenge the restriction as applied to such institutions. ·see supra part II. Even if the Court

       were to consider the merits of this issue, it would also find that Plaintiffs are unlikely to succeed

       on the merits because Bruen made no distinction among schools based on the age of the students,

       a restriction relating to a public college is analogous to the undisputedly lawful prohibitions on

        carrying firearms at public elementary or secondary schools, and the only institutions of higher

        education in the County-Montgomery College and the Universities at Shady Grov_e, which is part

        the University System of Maryland-are public institutions consisting of government buildings

        which are themselves "sensitive places" under Bruen and Heller. Bruen, 142 S. Ct. at 2133; Heller,

        554 U.S. at 626. Finally, as discussed below, restrictions on carrying fire.µms in such an institution

        are also consistent with the historical tradition of firearm regulations in places of learning. See

        infra part III.F.

                C.      Childcare Facilities

                Although childcare facilities are not listed among the "sensitive places" identified in Bruen,

        the Court finds that they are properly deemed to be sensitive places because they are analogous to

        schools. In Bruen, the Supreme Court instructed that "courts can use analogies to those historical

        regulations of 'sensitive places' to determine that modern regulations prohibiting the carry of
                                                                                             .
        firearms in new and analogous sensitive places are constitutionally permissible." ·Bruen, 142 S.

        Ct. at 2133. Although childcare facilities likely did not exist in any significant numbers at the time

        of the ratification of the Second and Fourteenth Amendments, the facilities are sufficiently

        analogous to schools to be deemed sensitive places for purposes of Second Amendment analysis.

        First, the burden imposed on the right to self-defense is the same between prohibitions on carrying

        fire~rms into schools and prohibitions on carrying arms into childcare facilities. Second, the



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       burdens are coinparably justified, because schools, like childcare facilities, are tasked With

       providing education and socialization to attendees, purposes furthered by prohibitions on bringing

        firearms into those locations. Moreover, prohibitions on firearms in both s~hools and childcare

        facilities are meant to protect the same or similar vulnerable populations, consisting of students

        and children. Indeed, childcare facilities often provide care foi school-age children immediately

        before or after the school day, or they provide care for children below school age. Under these
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        circtirnstances, the Court finds that childca!e facilities are "sensitive places" by analogy to schools,

        such that restrictions on carrying firearms in childcare facilities are consistent with the Second

        Amendment. See Antonyuk, 2022 WL 16744700, at *68 (finding that restrictions on carrying arms

        in nursery schools and l!reschools were permissible in light of historical analogues to laws

        forbidding arms in schools). Plaintiffs are therefore unlikely to succeed on the merits of their

        challenge to Section 57-11 as it relates to childcare facilities.

                D.      Places of Worship

                Plaintiffs are not likely to succeed on the merits of their claim that the County's restriction

        on carrying a firearm at a place of worship violates the Second Amendment. The historical record

        in the years following the ratification of the Fourteenth Amendment, as presented by the County,

        demonstrates a well-established and representative number of statutes that prohibited firearms in

        places of worship.

                For example, in 1870, only two years after the ratification, Georgia enacted an amendment

        to the Georgia Penal Code that prohibited ·a person from carrying "any dirk, bowie-knife, pistol or

        revolver, or any kind of deadly weapon" to "any ... place of public worship." 1870 Ga. Acts &

        Resolutions, tit. XVI,§ I, Opp'n Ex. 18, ECF No. 59-22. Also in 1870, Texas enacted a statute

        that prohibited any person from going "into any church or religious assembly" while ,having "about



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       his person ... fire-arms, whether known as a six shooter, gun or pistol of any kind." 1870 Tex.

       Gen. Laws, ch. XL VI,§ 1, Opp'n Ex. 21, ECF No. 59-25. In 1875, Missouri prohibited individuals

       from "go[ing] into any church or place where people have assembled for religious worship" while

       "having upon or about his person any kind of fire arms." 1875 Missouri Gen. and Local Laws at

        50, § 1, Opp'n Ex. 23, ECF No. 59-27. In 1878, Virginia prohibited "carrying any gun, pistol ...

        or other dangerous weapon" to "any place of worship while a meeting for religious purposes is

       being held at such place." 1878 Va. Acts and Joint Resolutions, ch. VII,§ 21, Opp'n Ex. 24, ECF

       No. 59-28. In 1889, the Territory of Arizona prohibited the carrying in "any church or religious

        assembly" of "a pistol or other firearm."   1889 Ariz. Session Laws of the Fifteenth Legislative

        Assembly of the Territory of Arizona at 17, § 3, ECF No. 59-38. In 1890, in Columbia, Missouri,

        an ordinance was adopted which prohibited any person who enters "any church, or place where

        people have assembled for religious worship" from carrying "any fire arms or other deadly or

        dangerous weapon." 1890 Columbia, Mo. Gen. Ordinances, ch. XV! 1, § 163, Opp'n Ex. 35, ECF

        No. 59-39. In 1890, the Territory of Oklahoma banned the carrying of a "pistol" or "revolver," or
                          '                                                                             .
        certain other dangerOus weapons, "into any church or religious assembly." 1890 Okla. Statutes,

        art. 47, §§ 1-2, 7, ECF No. 59-40. Finally, in 1894, the City of Huntsville, Missouri prohibited
        the carrying of"any kind offire-anns" into "any church or place where people have assembled for

        religious worship." 1894 Huntsville, Mo. Revised Ordinances at 58-59, § 1, Opp'n Ex. 42, ECF

        No. 59-46.

               These historical statutes and ordinances demonstrate that there is "historical precedent"

        from the time period of the ratification of the Fourteenth Amendment that "evinces a comparable

        tradition ofregulation" of firearms at places of worship. Bruen, 142 S. Ct. at 2131-32. Where the.

        historical record provides a strong basis upon which to conclude that Section 57-11 's bar on



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       carrying a firearm in a place of worship is "consistent with the Nation's historical tradition of

        firearm regulation," id. at 2130, the Court finds that Plaintiffs are not likely to succeed on the

        merits of their Second Amendment claim relating to the carrying of firearms in places of worship.

                E.     Public Parks, Recreational Facilities, and Multipurpose Exhibition Facilities

                In considering Plaintiffs' challenge to Section 57-11 's restrictions on carrying firearms in

        public park~. recreational facilities, and multipurpose exhibition facilities, the Court finds that the

        historical record provided by the County demonstrates a history of restricting firearm possession

        and carrying in public parks and at locations where large numbers of people engaged in recreation.

                As to public parks, numerous historical statutes and ordinances from the time period before

        and following the ratification of the Fourteenth Amendment imposed such restrictions in relation

        to parks.    First, during that 'time period, numerous local governments similarly situated to

        Montgomery County, in states all over the United States, prohibited firearms in parks. These

        restrictions included prohibitions on carrying firearms in parks in major American cities, such as

        an 1857 ordinance stating that "[a]ll persons are forbidde_n ... [t]o carry firearms or to throw stones

        or other missiles" within Central Park in New York City, see First Annual Report on the

        Improvement of the Central Park, New York at 106 (1857), Opp'n Ex. 13, ECF No. 59-17; an

        1870 law enacted by the Commonwealth of Pennsylvania statil}g that "[n]o persons shall carry

        fire-arms" in Fairmount Park in Philadelphia, Pennsylvania, see Acts of Assembly Relating to

        Fairmount Park at 18, § 21.II (1870), Opp'n Ex. 20, ECF No. 59-24; an 1895 Michigan state law

        providing that "No person shall fire or discharge any gun or pistol or carry firearms, or throw

        stones or other missiles" within a park in the City of Detroit, see 1895 Mich. Local Acts at 596, §

        44, Opp'n Ex. 43, ECF No. 59-47; and a 1905 ordinance in Chicago, Illinois stating that "all

        pqsons are forbidden to carry firearms or to throw stones or other missiles within any of the Parks



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        ... of the City," 1905 Chi. Revised Mun. Code, ch. XLV, art. I,§ 1562, ·opp'n Ex. 49,.ECF No.

        59-53.   Similar restrictions were enacted to bar the carrying of firearms in (I) Saint Paul,

        Minnesota, see Annual Reports of the City Officers and City Boards of th~ City of Saint Paul at

        689 (1888), Opp'n Ex. 32, ECF No. 59-36; (2) Williamsport, Pennsylvania, see 1891
                                                                     .
        Williamsport, Pa. Laws and Ordinances at 141, § 1, Opp 'n Ex. 37, ECF No. 59-41; .(3) Wilmington,

        Delaware, see 1893 Wilmington, Del. Charter, Part Vil,§ 7, Opp'n Ex. 39,-ECF No. 59-43; (4)

        Reading, Pennsylvania, see A Digest of the Laws and Ordinances for the Government of the

        Municipal Corporation of the City of Reading, Pennsylvania at 240, § 20(8) (1897), Opp'n Ex. 44,

        ECF No. 59-48; (5) Boulder, Colorado, see 1899 Boulder, Colo. Revised Ordinances at 157, §

        51 I, Opp'n Ex. 45, ECF No. 59-49; (6) Trenton, New Jersey, see 1903 Trenton, N.J. Charter and

        Ordinances at 390, Opp'n Ex. 48, ECF No. 59-52; (7) Phoenixville, Pennsylvania, see A Digest of

        the Ordinances of Town Council of the Borough of Phoenixville at 135, § I (1906), Opp'n Ex. 52,

        ECF No. 59-56; (8) Oakland, California, see 1909 Oakland, Cal. Gen. Mun. Ordinances at 15, §

        9, Opp'n Ex. 53, ECF No. 59-57; (9) Staunton, Virginia, see 1910 Staunton, Va. Code, ch. 11, §

        135, Opp'n Ex. 54, ECF No. 59-58; and (10) Binningham, Alabama, see 1917 Birmingham, Ala.

        Code, ch. xuv; § 1544, Opp'n Ex. 55, ECF No. 59-59.

                 On a state level, in 1905, Minnesota prohibited the possession of firearms within state parks

        unless they were unloaded and sealed by a park commissioner. 1905 Minn. Laws, ch. 344, § 53,

        Opp'n Ex. 50, ECF No. 59-54. In 1917, Wisconsin prohibited bringing a "gun or rifle" into any

        "wild life refuge, state park, or state fish hatchery lands" unless it was unloaded and in a carrying

        case. 1917 Wis. Sess. Laws, ch. 668, § 29.57(4), Opp'n Ex. 56, ECF No. 59-60. In 1921, North

        Carolin\l enacted a law prohibiting the carrying of firearms in both private and public parks without




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        the pennission of the owner or manager of that park. See 1921 N.C. Sess. Laws 53-54, Pub. Laws

        Extra Sess., ch. 6, §§ I, 3, Opp'n Ex. 57, ECF No: 59-61.

               These laws which, like Section 57-11, categorically bar the carrying offireanns in parks,

        demonstrate that there is "historical precedent" fr9m bf:fore, during, and after the ratification of

        the Fourteenth Amendment that "evinces a compal"able tradition of regulation" of fireanns in

        parks. See Bruen, 142 S. Ct. at 2131-32. Although Plaintiffs argue that some of these historical

        statutes should be discounted because their purpose may have been to protect waterfowl or

        wildlife, this argwnent is unpersuasive for two reasons. First, the considerations of"how and why"

        historical regulations burden rights relating to fireanns are applicable not when there is clear

        historical example of the exact same type of regulation-in this instance, restrictions on carrying

        fireanns in parks-but are instead applicable-only when the Court is asked to reason by analogy

        in order to uphold a ne"Y fonn of restriction that did not exist at the time of the ratification. See

        Bruen, 142 S. Ct. at 2132-33. Second, even if these considerations must be examined, these

        provisions restrict the carrying of fireanns in the exact same way, by barring the carrying of a

        fireann in a park regardless -of what self-defense concerns might exist, and they do so for

        apparently similar reasons. Though some of the historical statutes may have prohibited fiieanns

        from i,arks in order to protect wildlife and property, many plainly served to advance public safety

        and the peaceful enjoyment of parks, such as those that also prohibited the throwing of objects in

        parks, including the laws that applied to parks in densely populated urban areas, such as New York,

        Philadelphia, Detroit, and Chicago. The Court therefore finds that Plaintiffs are unlikely to

        succeed on the merits of their challenge to Section 57-11 's restriction on carrying fireanns in parks ·

        in Montgomery County, which is also a densely populated area.




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                As for Section 57-11 's restriction on cari-ying firearms in recreational facilities and

        multipurpose exhibition facilities, the historical statutes applicable to parks are fairly deemed to

        be well-established and representative historical analogues because such facilities, like parks, are

        locations at which large numbers of people gather to engage in recreation. In addition, there are

        historical statutes and regulations from states and territories that directly restricted the carrying of
                                                                                                   •
        firearms in recreational facilities and multipurpose exhibition facilities. In the early 1800s, New

        Orleans, Louisiana prohibited individuals from entering "into a public ballroom with any cane,

        stick, sword, or any other weapon." General Digest of the Ordinances and Resolutions of the

        Corporation of New Orleans at 371, art. I (1831), Opp'n Ex. 7, ECF No. 59-11. Similarly, in

        1852, the Territory of New Mexico prohibited firearms or other deadly weapons at balls or dances.

         I 852 N.M. Laws at 67-68, § 3, Opp'n Ex. 12, ECF No. 59-16. In 1870, Tennessee prohibited the

        carrying of a pistol or other "deadly or dangerous weapon'' at "any fair, race course, or other public

        assembly of the people." 1870 Tenn. Acts, ch. XXII, § 2, Opp'n Ex. 17, ECF No. 59-21. In 1870,

        Texas prohibited firearms, including "a six shooter, gun or pistol of ap.y kind" in "a ball roon:i,

        social party or other social gathering
                                          .
                                               composed of ladies and gentlemen." 1870' Tex.' Gen. Laws,

        ch. XLVI, § 1. In 1889, the Territory of Arizona banned firearms in any "place where persons are

         assembled for amusement ... or into any circus, show or public exhibition of any kind, or into a

         ball room, social party or social gathering." 1889 Ariz. Session Laws at 17 § 3. In 1890, the

         Territory of Oklahoma prohibite.d arms in any "place where persons are assembled ... for

         amusement ... or any circus, show or public exhibition of any kind, or into any ball room, or to

         any social party or social gathering." Okla. Statutes, art. 47, § 7 (1890).

                 Whether vie\.Ved as direct historical precedent or historical analogues, these statutes and

         ordinances demonstrate a historical tradition of restricting the carrying of firearms in places where



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        individuals gather for recreation or social activities such as the recreational facilities and

        multipurpose ~xhibition facilities covered by Section 57-11. Because these provisions, like

        Section 57-11,. generally prohibit the carrying of firearms in these locations, with no exception

        relating to possible self-defense needs, they impose a comparable burden on the right to bear arms

        as Section 57-11. The reasons for these historical restrictions, which appear to be to protect

        individuals engaged in these recreational and social activities from confrontations and encounters

        involving firearms or other dangerous weapons, are comparable to the reason for the prohibitions

        of Section 57-11, which is to address possible gun violence in or near places of public assembly.

        See Legislative Request Report, Opp'n Ex. 2 at 17, ECF No. 59-6.

               Where there is a distinct foundation of historical precedent demonstrating that prohibitions

        on carrying firearms in public parks, places of recreation, and social gatherings are part of the
                                   ' of firearm regulation," Bruen, 142 S. Ct. at 213 0, the Court finds that
        "Nation's historical tradition

        Plaintiffs are not likely to succeed on the merits of their challenges to Section 57-11 's prohibitions

        on carrying firearms in public parks, recreational facilities, and multipurpose exhibition facilities.

                F.      Public Libraries

                Plaintiffs are also not likely to succeed on the merits of their claim as to public libraries.

        First, all public libraries in Montgomery County are in go".'ernment buildings, which are "sensitive

        places" where arms carrying can be prohibited consistent with the Second Amendment.. Bruen,

        142 S. Ct. 2133. Second, as presented by the County, there is a representative number ofhistorical

        statutes that demonstrate a historical tradition of firearm regulation in places of gathering for

        literary or educational purposes, including public libraries.

             · For example, in 1870, Texas enacted a law prohibiting the carrying of firearms iri "any

        school room or other place where persons are assembled for educational, literary or scientific



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        purposes." 1870 Tex. Gen. Laws, ch. XLVI, § 1. In 1879, Missouri prohibited the carrying on

        one's person of"any kind of firearms" in "any school room or pl,ace where people are assembled

        for educational, literary or social purposes." 1879 Mo. Revised Statutes, ch. 24, art. II, § 1274,

        Opp'n Ex .. 25, ECF No. 59-29. In 1889, the Territory of Arizona prohibited the carrying of a

        "pistol or other fireari:n" into any "place where persons are assembled for ... educational or

        scientific purposes." 1889 Ariz. Session Laws at 17, § 3. Similarly, in 1893, the Territory of

        Oklahoma outlawed bringing a pistol, revolver, or any other instrument inanufactured "for the

        purpose of defense" into any "place where persons are assembled for ... educational or scientific

        purposes." 1893 Okla. Statutes, ch. 25, art. 45, § 7, Opp'n Ex. 40, ECF No. 59-44. Finally, in

        1903 Montana prohibited the carrying of "a pistol or other firearm" in "any school room or other

        place where persons_ are assembled for ... educational or scientific purposes." 1903 Mont. Gen.

        Laws, ch. XXXV, § 3, Opp'n Ex. 47, ECF No. 59-51. Based on a straightforward reading of the

        l3:11guage of these provisions, they necessarily apply to public libraries. Although the Court has

        fc;mnd a lack of standing to challenge firearm restrictions relating to private libraries, the Court

        notes that none of these laws limits its· prohibitions to public facilities where people were

        assembled for educational, literary, or scientific purposes, so they also demonstrate a historical

        tradition of firearm regulation in private~y operated libraries open to the public.

                These historical provisions imposed comparable burdens on the right to bear arms as

        Section 57-11 's restriction on carrying firearms in a library.        Where these historical laws

        apparently were aimed at preventing disruption of educational and literary activities and ensuring

        safety during those activities, the burdens imposed by them and by Section 57-11 are comparably

        justified. Accordingly, the Court finds that Plaintiffs are unlikely to succeed on the merits of their

         challenge to Section 57-11 as to libraries.



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               Finally, the Court notes that while it has found that Plaintiffs lack standing to challenge to

        Section 57-11 as applied to public institutions of higher education, to the extent that it were to

        consider the merits of that challenge, the same historical examples, based on their plain lang~age,

        encompass restrictions on carrying firearms at such institutions and thus provide a basis to find a

        lack of a likelihood of success on that claim.

                G.      100-Yard Buffer Zones

                Finally, as to all of the specific locations constituting "places of public assembly," Plaintiffs

        argue ~hat Section 57-11 's prohibition on carrying a firearm within 100 yards of a place of public

        assembly violates the Second Amendment right to bear arms for self-defense.                Because the

        definition of ''place of public assembly" includes "all property associated with the place, such as

        a parking lot or grounds of a building," Bill No. 21-22E at 4; Montgomery Cnty. Code§ 57-1, the

         100-yard buffer zone necessarily includes land outside the boundary of a parking lot or grounds

        associated with a school, library, or other place of public assembly .

               .The historical record provided by the County includes numerous examples of laws

         prohibiting firearms in buffer zones of a certain distance around a "sensitive place" or other

         location. 'at which the government could prohibit the carrying of firearms. For example, in thf:

         years following the ratification of the Fourteenth Amendment, Maryland prohibited the carrying

         of a gun or pistol within 300 yards of polling places in Calvert County and in any location on

         Election Day in Kent County, Queen Anne's County, and Montgomery County. 1886 Md. Laws·,

         ch. 189, § 1 (Calvert County), Opp'n Ex. 30, ECF No. 59-34; 1874 Md. Laws, ch. 250, § 1 (Kent,

         Queen Anne's, and Montgomery Counties), Opp'n Ex. 22, ECF No. 59-26. Similarly, in 1870,

         Louisiana prohibited the carrying of any gun, pistol, or other dangerous weapon _within "one-half

         mile of any place of registration" for elections. 1870 La. Acts, No. 100, § 73, Opp'n Ex. 19, ECF



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        No. 59-23. In Mississippi, an 1892 law prohibited students from carrying, bringing, receiving,

        owning, or having a concealed weapon "within two miles" of"any university, college, or school.''
                                                                    '
        1892 Miss, Code Ann, at 327, § 1030, Opp'n Ex, 38, ECF No, 59-42.

                Similarly, many municipalities prohibited the carrying of firearms within 50 or 100 yards

        of their parks, squares, or common areas, including: (1) Philadelphia, Pennsylvania, see Acts of

        Assembly Relating to Fairmount Park at 18, § 2LII (1870) (50 yards); (2) St. Paul, Miunesota, see

        Aunual Reports of the City Officers and City Boards of the City of Saint Paul at 689 (1888) (50

        yards); (3) Pittsburgh, Pennsylvania, see A Digest of the Acts of Assembly Relating to and the

        General Ordinances of the City of Pittsburgh, from 1804 to Jan, I, 1897, at 496, § 5 (1893), Opp'n

        Ex, 41, ECF No, 59-45 (100 yards); (4) Reading, Pennsylvania, see A Digest of the Laws and

        Ordinances for the Government of the Municipal Corporation of the City of Reading, Pennsylvania

        at 240, § 20(8) (1897) (50 yards); and (5) Trenton, New Jersey, see 1903 Trenton, NJ. Charter and

        Ordinances at 390 (50 yards). There is thus a historical tradition of firearm regulation corisisting

        of restrictions on carrying a firearm within a certain reasonable buffer zone around "sensitive

        places" and other locations at which firearms could be restricted.

                Plaintiffs argue that these historical buffer zone laws are hot relevantly similar historical

        analogues because they were not necessarily enacted to restrict the right to self-defense. In
         '
        particular, they reference buffer zones around parks, which they argue were enacted to.protect

        wildfowl and other wildlife. This argument is unpersuasive for two reasons. First, as noted above,

        many of the buffer zone stattites cited by the County focused on increasing the restricted area

         around sensitive places Or other places at which the carrying of firearms was prohibited that have

         nothing to do with hunting, such as those relating to polling places, election registration locations,

         and schools. Such restrictions were plainly enacted to further presumptively valid restrictions on



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       the right to self-defense in the area immediately adjacent to such locations for purposes of public

        safety and to allow the activity at issue, such as voting or the education of children, to occur without

        concern for violence or other interruption. They are therefore "comparably justified" to.Section

        57-11 's 100-yard buffer zone. Bruen, 142 S. Ct. at 2133.

                Second, the Court disagrees that the laws restricting the canying of firearms in parks, and

        the corresponding buffer zone provisions, were enacted solely to prevent poaching or hun!ing.

        Where several apply to parks in dis'tinctly urban settings, and many specifically refer to

        prohibitions on both carrying a firearm and throwing any projectile or missile without regard to

        whether the action endangers birds or wildlife, it is clear that these laws were enacted in whole or

        in part·to promote public safety and the ability of visitors to use the park for recreation without the

        potential for violence or other disturbances. -See, e.g., Acts of Assembly Relating to Fairmount

        Park (Philadelphia) at 18,_§ 21.II (1870); Annual Reports of the City Officers and City Boards of

        the City of Saint Paul at 689 (1888); A Digest of the Laws and Ordinances for the Governrnentof

        the Municipal Corporation of the City of Reading, Pennsylvania at 240, § 20(8) (1897); 1903

        Trenton, N.J. Charter and Ordinances at 390. Thus, "why" the buffer zones burden the right to

        anned self-defense is similar. Bruen; 142 S. Ct. at 2133. Finally, beyond the purpose of the

        statutes, these restrictions impose a "comparable burden" in that "how" they burden the right to

        armed self-defense is the same. Id. Under the plain language of these statutes, individuals were

        prohibited from bringing a firearm into a park or carrying one within the identified buffer zone

        distance regardless of whether they had any intention to hunt or poach in the park, so they, like

        Section 57-11, imposed absolute restrictions on the right to carry a firearm for self-defense in such

        areas. Thus, where numerous historical examples of buffer zone statutes exist, and where they

        impose the same burden on Second Amendment rights and are comparably justified, the Court



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        finds that Plaintiffs are unlikely to succeed on the merits of their challenge to Section 57-11 's 100-

        yard buffer zones.

                H.      Buffer Zones Near Hospitals

                Finally, to the extent that Plaintiffs' argument relating to the buffer zones may include a

        claim that restrictions on firearms within 100 yards of a hospital fail not because of the existence

        of a buffer zon~, but because of a lack of a basis to restrict firearms from the hospitals on which

        the buffer zone is based, the Court finds that the County has sufficiently demonstrated a hiStorical

        basis for such restrictions. While the County has not presented historical examples of specific

        restrictions on the carrying of firearms at hospitals, that fact is not remarkable, because hospitals

        did not exist in their modem form at the time of the ratification of the Second or Fourteenth

        Amendments. As noted in Bruen, "cases implicating unprecedented societal concerns or dramatic

        technological changes may require a more nuanced" historical analysis. Bruen, 142 S. Ct. at 2132.

        It was not until the late nineteenth century, "as society became increasingly industrialized and

        mobile and as medical practices grew in their sophistication and complexity," that there was a shift

        from the norm of medical care at home to "the professionalization of health care practices that

        eventually included the development of a full and competitive commercial market for medical

        services that increasingly took place in hospitals." Barbra Mann Wall, History ofHospitals, Univ.

        of Pa. School of Nursing, httpS://www.nursing.upenn.edu/nhhc/nurses-insti_tutio~s-caring/history-

        of-hospitals/ (last visited July 5, 2023). "Between 1865 and 1925 in all regions of the United

        States, hospitals transformed into expensive, modem hospitals of science and technology." Id.

        Thus, hospitals were only beginning to become prevalent at the time of the ratification of the

        Fourteenth Amendment, developed because of advances in mOdern medicine, and did not resemble




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        their modem counterparts until the twentieth century. The Court thus considers whether there are

        historical analogues for firearm regulation at hospitals .
                                       .
                The County has identified historical statutes demonstrating a history of firearm restrictions

        at locations operated for scientific purposes. For example, in 1870, two years after the ratification

        of the Fourteenth Amendment, Texas enacted a statute prohibiting the carrying of firearms into

        "any school room or other place where persons are assembled for educational, literary or scientific

        purposes." 1870 Tex. Gen. Laws, ch. XLVI, § I. In 1890, the Territory of Oklahoma prohibited

        carrying a pistol or firearm into "any school room or other place where persons are assembled for

        ... educational or scientific purposes." 1890 Okla. Statutes, ch. 25, art. 47, § 7. In 1901, the

        Territory of Arizona similarly prohibited carrying a firearm into "any school room, or other place

        where persons are assembled for ... educational or scientific purposes." 1901 Arizona Revised

        Statutes, tit. 11, § 387, Opp'n Ex. 46, ECF No. 59-50. Finally, in 1903, the state of Montana

        prohibited the carrying of firearms into "any school room or other place where persons are

        assembled ... for educational or scientific purposes." 1903 Mont. Gen. Laws, ch. XXXV, § 3.

        These almost identical laws passed in the year~ following the ratification of the Fourteenth

        Amendment imposed bans on the carrying of firearms in both schools and. places of scientific

        activity.

                Although not a "historical twin" or a "dead ringer," these statutes can be fairly construed

        as providing "historical analogue[s]" fo~ Section 57~ 11 's restrictions on the possession of firearms

        at hospitals. Bruen, 142 S. Ct. at 2133. Hospitals are certainly locations at which people are

        engaged in scientific activities, including medical care. Moreover, specifically as to Montgomery

         County, most of the hospitals in the County are also involved "in teaching or clinical research that

         constitutes educational or scientific activities, including the National Institutes of Health Clinical



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        Center, whfoh conducts clinical research, see Welcome from the Clinical Center, NIH Clinical

        Center, https://clinicalcenter.nih.gov/welcom~.html (last visited June 27, 2023); Suburban

        Hospital, which is a member of Johns Hopkins Medicine and has a "vibrant and growing research

        program," see Research and Discovery at Suburban Hospital, Johns Hopkins Medicine,

        https://www.hopkinsm,edicine.org/suburban_ hospital/research/index.html (last visited June 27,

        2023); Walter Reed National Militfil')' Medical Center, which engages in medical research, see

        Department of Research Programs, Walter Reed National Military Medical Center,

        https://walterreed.tricare.mil/About-Us/Department-of-Research-Programs (last visited June 27,

        2023); MedStar Montgomery Medical Center, which is engaged in clinical trials and research

        studies, see At a Glance, MedStar Montgomery Medical Center, https://www.medstarhealth.org/-

        /media/project/mho/medstar/pdflat-a-glance-flyer~022822.pdf (last visited June 27, 2023) ("Our

        culture encourages clinicians and associates to test new ideas to improve care and .experiences

        [and] to participate in clinical trials and research studies ...."); and Holy Cross Health and Holy

        Cross Gennantown Hospital, which have academic partnerships and a location on Montgomery

        College's Germantown campus for the purposes of educational training and development, see

        About Us, Holy Cross Health, https://www.holycrosshealth.org/about-us/ (last visited June 27,

        2023) ("With a commitment to education, Holy Cross Heaith has numerolls academic partnerships
                                                                     •
        and Holy Cross Gennantown Hospital is the first hospita~ in the nation located on a community

        college campus to advance educational training and development.").

               Where the historical laws generally prohibited firearms at locations used fOr educational or.

        scientific purposes, they imposed an equal burden on the right to bear anns as does Section 57-11

        in relation to these hospitals. They are also "relevantly similar" to Section 57-11 because they all

        apparently "burden a law-abiding citizen's right to armed self-defense" for the same reason:



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        providing public safety so as to allow significant scientific activity to be conducted properly and

        successfully. Bruen, 142 S. Ct. at 2132-33. Section 57-11 's prohibition of fireanns in hospitals

        is therefore analogous to historical statutes prohibiting arms in locations of scientific activity.

                LastIY, the Court-notes that some of the hospitals in Montgomery County, such as Walter

        Reed National Military Medical Center and the National Institutes of Health Clinical Center, are

        public facilities located in government buildings and therefore also qualify as "sensitive places."

        Bruen, 142 S. Ct. at 2133.

                Because there are persuasive arguments that Section 57-11 's restriction on carrying

        firearms at hospitals is consistent with the Nation's historical tradition of firearm regulations, the

        Court cannot conclude at this early stage that Plaintiffs' challenge to the 100-yard buffer zone

        restriction as applied to areas within that distance of a hospital is likely to succeed on the merits

        of that particular claim.

                I.      Sufficiency of the Historical Record

                As to all of the locations,.in response to the County's arguments based on the historical

        record it has submitted, Plaint!ffs argue that the: County has not identified a sufficient·number_of

        historical statutes in support of its argument, and that the statutes come from states or territories

        that encompass a low percentage of the total population of the United States. As to the number of

        statutes cited, Bruen did not establish a minimum threshold for·the number of statutes that must be

        identified as part of the historical analysis to support the conclusion that a present fireann

        restriction is "consistent with the Nation's historical tradition of firearm regulation." Bruen, 142

        S. C.t at 2130. Indeed, the Supreme Court has acknowledged that certain locations are properly

        construed as "sensitive places" at which the carrying·of fireanns. may be prohibited based on only

        a limited number of historical examples. As to legislative assemblies, ideiltified in Bruen as



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        "sensitive places," the Supreme Court acknowledged that there are "relatively few" relevant

        historical statutes, id at 2133, and the secondary source upon which it relied includes citations to

        only two laws, both from the same state. See David B. Kopel & Joseph G.S. Greenlee, The

        "Sensiiive Places" Doctrine: Locational Limits on the Right to Bear Arms, 13 Charleston L. Rev.

        205,235 (2019). Similarly, the sources c,ited by the Supreme Court to support the designation of

        courthouses as "sensitive places" include only two state statutes, one from Georgia and one from

        Virginia. See id at 246 (Georgia statute); Brief of Amicus Curiae the Independent Institute in

        Support of Petitioners at 12, Bruen, 142 S. Ct. 2111 (No. 20-843) (Virginia statute). Under these

        circumstances, and where the Court's analysis as to many of the "places of public assembly"

        covered by Section 57-11 is "':hether they are, or are analogous to, "sensitive places," the Court

        concludes that the number of statutes and ordinances identified by the County is sufficient.

                Moreover, the Bruen Court, while discussing the breadth of the historical examples and

        their reach and disfavoring the historical examples presented in that case that came from territories

        rather than sta!es, Bruen, 142 S. Ct. at 2154-55, did not impose any specific requirement that the
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        historical statutes considered must have applied to a certain number of states or a certain

        percentage of the relevant population. Notably, its criticism of the lirriited number of statutes

         presented and of territorial statutes was based in part on its conclusion that the proffered examples

         were countered by the weight of historical evidence. Here, the examples from territories merely

         reinforce and supplement the historical tradition based on laws from the states, and the record does

         not demonstrate that the examples cited by the County are outliers or contradicted by a more

         substantial historical record.     The only location on which Plailltiffs offer meaningful

         counterexamples is places of worship, as to which Plaintiffs cited an article referencing pre-Second

         Amendment laws requiring individuals to carry fi(earms in places of worship orto public meetings.



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        See Kopel & Greenlee, supra, at 233 & n. I 08. However, the only specific statutes referenced in

        that article were from states-Virginia- and Georgia-which later changed their laws around the

        time of the ratification of Fourteenth Amendment to prohibit firearms at places of worship. See

        id. at 249 (stating that "Virginia in 1877 ... forbade all arms carrying at places of worship where

        religious meetings were being conducted"); see supra part III.D (1870 Georgia statute). Finally,

        the Court notes that the record lacks any evidence that during the relevant historical time period,

        restrictions or proposed restrictions on carrying firearms such as those cited by the County were

        "rejected on constitutional grounds." Bruen, 142 S. Ct. at 2131.

                Accordingly, the Court finds that Plaintiffs have not established a likelihood of success on

        the merits of the claims at issue on the Motion.

        IV.     Remaining Factors

                Because the Court does not find a likelihood of success on the merits of Plaintiffs' claims

        relating to the Motion, the Court need not addreSs the remaining factors. See Pashby, 709 F.3d at

        320. The Court notes that even if they were considered, the remaining factors collectively weigh

        against a preliminary injunction. As to the likelihood of irreparable harm, Plaintiffs correctly

        assert that as a legal matter, the denial of a constitutional right, if established, would qualify as

        irreparable harm. Ross v. Meese, 818 F.2d 1132, 1135 (4th Cir. 1987); see also Elrod v. Burns,

        427 U.S. 347, 373 (1976) (plurality opinion) (finding that infringement on a First Amen_dment

        right, even for "minimal periods of time, unquestionably constitutes irreparable injury").

        However, the likelihood of irreparable harm on this basis is dependent on the likelihood of success

         on the merits of the claim. See Miranda v. Garland, 34 F.4th 338,365 (4th Cir. 2022).

                Plaintiffs have not shown that the other asserted forms of irreparable harm are likely to

         occur. To establish irreparable harm, a plaintiff "must make a 'clear showing' that it will suffer



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        hann that is 'neither remote nor speculative, but actual and imminent.'" Mountain Valley Pipeline,

        LLC v. 6.56 Acres of Land, 915 F.3d 197,216 (4th Cir. 2019)-(quoting Direx Israel, Ltd. v.

        Breakthrough Med Corp., 952 F.2d 802, 812 (4th Cir. 1991)). Though an arrest and conviction

        for a felony firearm offense may permanently prevent a plaintiff from possessing a firearm,

        Plaintiffs have not shown a likelihood of this outcome. While the Court has found a sufficient

        possibility that the County would enforce Chapter 57 to establish standing, Plaintiffs have not

        provided any examples of prosecutions against permit holders for possessing a firearm in the

        scenarios they have referenced, such as a prosecution for possessing a firearm on a public street or

        area that happens· to be within 100 yards of a place of public assembly, or for carrying a firearm at

        a place of worship with the permission of the leadership of that institution. Nor have they

        established that a specific incident of violence for which a firearm woµld be necessary for self-

        defense is imminent or likely.

                Even to the extent that the irreparable harm prong could be deemed to be. satisfied, the

        Court finds that the balance of the equities and the public interest weigh against a preliminary

        injunction.   When one party is the Government, thes_e two factors merge and are properly

        considered together. Nken v. Holder, 556 U.S. 418,435 (2009). Bruen expressly prevents a Court

        from considering the public interest, including considerations such as the sharp increase in the

        number of mass shootings in Am~ricall communities, in assessing whe~her a firearm restriction is

        unconstitutional under the Second Amendment. Bruen, 142 S. Ct. at 2129-30.               Whether a

        preliminary injunction should be entered relating to the time period before a final determination
                                                                              '
        on constitutionality is made, however, is a different question for which the public interest must

        expressly be considered. See Winter, 555 U.S. at 20, 26. Here, the County argues that the

        amendments in Bill No. 21-22E serve_the public interest of reducing the risk of gun violence in



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        places where vulnerable populations are found and cites statistics demon~trating that deaths from

        gun violence in 2020 were the highest of any year with recorded data, and that gun violence in the

        County increased significantly from 2021 to 2022. Opp'n at 42. Thus, there is a public interest in

        not prematurely enjoining Section 57-11 before a final determination on constitutionality is made.

               Although Plaintiffs allege that there is a particular need at the present time for individual

        members of religious congregations to carry firearms while attending.services to protect against

        attacks based on religious discrimination, Section 57-11 does not prohibit t~e carrying of firearms

        by security guards at places of worship, nor does it limit the number of security guards that a place

        of worship may have.       Plaintiffs also have not persuasively demonstrated how the Second

        Amendment right to anned self-defense extends to a right to act as an armed security guard for

        private institutions. Thus, in considering the balance of the equities and the public interest, the

        _Court finds that these factors weigh against a preliminary injunction, as the County's interest in

        protecting public safety warrants permitting the relevant parts of Section 57-11 to remain in effect

        until a final determination is made on their constitutionality.

                                                  CONCLUSION

                For the foregoing reasons, Plaintiffs' Motion for a Temporary Restraining Order and a

        Preliminary Injunction, Ec'F No. 54, will be DENIED. A separ.ite Order shall issue.




        Date: July 6, 2023




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